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                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 8
                                      AT SEATTLE
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10          JULIO C. MONTERO,                              CASE NO. C20-0644JLR

11                               Plaintiff,                ORDER
                   v.
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            CAPE BRETON FISHING, LP, et
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            al.,
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                                 Defendants.
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            Before the court is the parties’ proposed stipulated protective order. (See Stip.
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     (Dkt. # 10); Prop. Protective Order (Dkt. # 10-1).) The parties have asked that the court
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     enter this stipulation as an order of the court. (See Stip. at 1.) However, the parties have
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     failed to comply with Local Rule LCR 26(c)(2). See Local Rules W.D. Wash. LCR
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     26(c)(2). Pursuant to this rule, “[p]arties are encouraged to use this district’s model
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     protective order, available on the court’s website.” Id. “Parties that wish to depart from
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     the model order must provide the court with a redlined version identifying departures
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     ORDER - 1
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 1   from the model.” Id. Here, the parties’ stipulated protective order departs from the

 2   model protective order (see Prop. Protective Order at 1-8), but the parties have failed to

 3   provide a redlined version of the model order as required under the local rules.

 4   Accordingly, the court DENIES the parties’ stipulated motion for entry of their agreed

 5   protective order (Dkt. # 10), but without prejudice to re-filing in a manner that comports

 6   with the court’s local rules.

 7          Dated this 19th day of October, 2020.

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                                                      JAMES L. ROBART
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                                                      United States District Judge
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     ORDER - 2
